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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 13-cv-02826-WYD-CBS

   ELHAM SALEMI,

          Plaintiff,

   v.

   COLORADO PUBLIC EMPLOYEES’ RETIREMENT ASSOCIATION;
   TIM MOORE, in his official and individual capacities; and
   ANGELA SETTER, in her official and individual capacities,

          Defendants.

   ______________________________________________________________________________

                 FIRST AMENDED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________________

          Plaintiff Elham Salemi, by and through her counsel, Darold W. Killmer, Mari Newman,

   and Danielle C. Jefferis of KILLMER, LANE & NEWMAN, LLP, respectfully alleges for her First

   Amended Complaint and Jury Demand as follows:

                                      I.     INTRODUCTION

          1.      This is an action against Colorado Public Employees’ Retirement Association

   (“PERA”), Tim Moore, Director of PERA’s Alternative Investments team, and Angela Setter,

   Director of PERA’s Human Resources, for gender, race, and national origin discrimination;

   retaliation; and equal pay violations. Plaintiff Elham Salemi was a successful, highly rated

   Portfolio Associate and Analyst who worked at PERA for eight years. She dedicated herself to

   her career and consistently sought to develop and grow professionally so that she could advance



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   through the PERA ranks. However, her determination was halted by Mr. Moore and Ms. Setter

   who intentionally discriminated and retaliated against her on the basis of her gender, race, and

   national origin. Mr. Moore consistently refused to promote Ms. Salemi, despite her strong

   performance, and regularly promoted white males instead. Ms. Setter ignored Ms. Salemi’s

   reports of discrimination, and she engaged in her own discrimination and retaliation against Ms.

   Salemi — on one instance, even pointing out Ms. Salemi’s national origin and culture as a basis

   for her lack of promotion. Ms. Salemi’s salary was dramatically lower than her white male

   counterparts’, and she was denied a number of opportunities that were given to her white male

   counterparts. Because of Ms. Salemi’s repeated efforts to get her employer to simply treat her

   equally, including her filing of a discrimination charge with the Equal Employment Opportunity

   Commission (“EEOC”), PERA abruptly fired her. PERA’s discrimination and retaliation have

   caused Ms. Salemi substantial economic and non-economic damages.

                                II.      JURISDICTION AND VENUE

          2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. sections 1331 and

   1343. This action is authorized and instituted pursuant to Title VII of the Civil Rights Act of

   1964, as amended, 42 U.S.C. section 2000e, et seq.; 42 U.S.C. sections 1981 and 1983; the

   Family Medical Leave Act, 29 U.S.C. section 2615(a); and the Equal Pay Act of 1963, 29 U.S.C.

   section 206(d)(1). Jurisdiction supporting Plaintiff’s claims for attorney’s fees and costs is

   conferred by 42 U.S.C. section 1988.

          3.      The employment practices alleged herein to be unlawful were committed within

   the jurisdiction of the United States District Court for the District of Colorado. Venue is proper

   pursuant to 28 U.S.C. section 1391.



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                          III.     ADMINISTRATIVE PREREQUISITES

          4.      Plaintiff timely filed a Charge of Discrimination with the Equal Employment

   Opportunity Commission and has received her Notice of Right to Sue. Thus, all administrative

   prerequisites have been met.

                                           IV.     PARTIES

          5.      Plaintiff Elham Salemi is a resident of and domiciled in the State of Colorado.

   She is from Iran. At all times relevant to this Complaint, she was employed by PERA.

          6.      Defendant Tim Moore is a resident of and domiciled in the State of Colorado. At

   all times relevant to this Complaint, he was employed by PERA. As the Alternative Investments

   Director, Defendant Moore was involved in the day-to-day operations of PERA and had direct

   responsibility for the supervision of Ms. Salemi.

          7.      Defendant Angela Setter is a resident of and domiciled in the State of Colorado.

   At all times relevant to this Complaint, she was employed by PERA. As the Director of Human

   Resources at PERA, Defendant Moore was involved in the day-to-day operations of PERA and

   had direct responsibility for the supervision of Ms. Salemi.

          8.      Defendant PERA is a statutory pension plan available to most State of Colorado

   employees. Pursuant to Colo. Rev. Stat., section 24-51-201(1), it is an instrumentality of the

   State of Colorado with the right to sue and be sued. PERA has continuously been an “employer”

   within the meaning of Title VII at all times relevant to this Complaint.

                                  V.    FACTUAL ALLEGATIONS

          9.      Ms. Salemi began her career at PERA in May 2004 as an intern while she finished

   graduate school. In September 2004, after she earned her Master’s degree, PERA hired Ms.



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   Salemi as a Portfolio Associate with the Alternative Investments (“AI”) team — a position that

   opened up because PERA fired the only female AI investment professional, Cynthia Anderson.

          10.     Upon information and belief, Ms. Anderson had complained of gender

   discrimination at PERA just before PERA fired her.

          11.     At the time that PERA hired Ms. Salemi, the AI team was comprised of five

   investment professionals. Ms. Salemi was the only female investment professional on the team

   when she was hired and throughout her tenure with PERA.

          12.     At the time, Chris Reilly was the AI Director. As Ms. Salemi’s supervisor, Mr.

   Reilly consistently gave Ms. Salemi positive performance reviews. From 2004 to 2007, not only

   did Ms. Salemi receive “fully successful” ratings, she was also recognized for streamlining the

   operational processes to free up her time so that she could get involved in investment activities.

          13.     Ms. Salemi enjoyed the analytic side of investing, and she took considerable

   initiative to grow and develop professionally so that she could move into successively higher

   positions within the AI team. Within AI, PERA’s employment structure moves upward from

   Portfolio Associate to Analyst to Portfolio Manager.

          14.     Mr. Reilly left PERA in late 2006. In January 2007, Jennifer Paquette, Chief

   Investment Officer, informed Ms. Salemi that Mr. Reilly had discussed promoting her to Analyst

   and that Ms. Salemi just needed to “bear with her” until PERA replaced Mr. Reilly. Ms.

   Paquette also instructed Ms. Salemi that if nothing happened regarding a promotion, Ms. Salemi

   should remind her about it in July.

          15.     In February 2007, Defendant Tim Moore, a Portfolio Manager, was promoted to

   AI Director.



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          16.     Soon after Mr. Moore’s promotion, Ms. Salemi discussed with him her planned

   promotion to Analyst. Mr. Moore shrugged his shoulders and told Ms. Salemi to discuss the

   issue with Ms. Paquette.

          17.     As Ms. Paquette had instructed, Ms. Salemi reminded Ms. Paquette about the

   promotion in July 2007. Still, no steps were taken in furtherance of Mr. Reilly’s months-old

   recommendation that Ms. Salemi be promoted to Analyst. To the contrary, Mr. Moore began

   fabricating excuses as to why Ms. Salemi did not deserve the promotion.

          18.     In January 2008, frustrated with the lack of movement a year later, Ms. Salemi

   spoke with Ms. Paquette again. Ms. Salemi told Ms. Paquette that Mr. Moore was not providing

   her with similar opportunities and training in comparison to her white male coworkers. She also

   stated that she felt as though she did not have a future with PERA and that she feared retaliation,

   should Mr. Moore learn of her concerns regarding discrimination.

          19.     Ms. Paquette discussed Ms. Salemi’s concerns with Mr. Moore at his year-end

   performance review. He became increasingly agitated. Ultimately, Ms. Paquette told Mr. Moore

   and Ms. Salemi that they needed to communicate better.

          20.     Ms. Salemi was extremely frustrated that Ms. Paquette attributed Mr. Moore’s

   discrimination merely to a lack of communication. She spoke with the EEOC about filing a

   complaint. She made an appointment with the EEOC but ultimately cancelled it due to her fear

   of retaliation and overall stress regarding the situation.

          21.     Ms. Salemi’s fear was based, in part, on the fact that a former female Senior

   Administrative Assistant with the AI team had complained to HR in 2006, and, as a result, PERA




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   transferred her to a different team. Regarding the woman’s transfer, Mr. Moore had said,

   “PERA’s HR always protects the management.”

          22.     Thereafter, Mr. Moore embarked on efforts to push Ms. Salemi out of PERA. In

   February 2008, he told Ms. Salemi about an open Analyst position with a different team. Just a

   few days later, he claimed he was working on getting her promoted but used the excuse that he

   had to get Ms. Paquette’s approval on the budgeting before it could actually happen. This was

   just a ruse, however, because in the meantime, a white male was promoted to the Analyst

   position.

          23.     In April 2008, Mr. Moore was still trying to get Ms. Salemi out of PERA by

   making her quit. He told her that he would send the recommendation for her promotion to Ms.

   Paquette that month, but, again, he used the excuse that the ultimate decision was Ms. Paquette’s.

          24.     Investment professionals with PERA are attached to an incentive bonus plan. Ms.

   Salemi, as a Portfolio Associate, should have been part of the plan from her date of hire and,

   therefore, eligible to receive incentive bonuses, but she was not. Mr. Moore threatened Ms.

   Salemi that if she did not get approval for the promotion to Analyst before June 30, 2008, she

   would remain ineligible for the incentive plan.

          25.     Ms. Salemi was finally promoted to Analyst on June 2, 2008, more than eighteen

   months after Mr. Reilly had originally planned to promote her. In the meantime, all of Ms.

   Salemi’s white male colleagues with similar backgrounds and experience had been promoted.

          26.     Upon her promotion, PERA offered Ms. Salemi a salary of $67,008.

          27.     Ms. Salemi soon became aware that her compensation was materially lower than

   the appropriate range for her Analyst position. She requested from HR representative Adam



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   Franklin the compensation range for her new position. Although PERA salary ranges had

   always been public information, Mr. Franklin declined her request and stated that the

   information could only be disclosed to Ms. Salemi with her Director’s consent.

          28.     Later that year, PERA hired an outside consulting firm to study the salary rates of

   all the investment professionals in the entire investment department. The study concluded that

   Ms. Salemi’s salary was not within the range for PERA Analysts. In fact, she was the only

   Analyst making an Associate’s salary.

          29.     To be within the appropriate range, Ms. Salemi’s salary would have to be

   increased to $90,400 — nearly $30,000 more than what PERA was paying her.

          30.     Despite being promoted in June 2008, Ms. Salemi did not receive her full increase

   until November 2009.

          31.     Even then, Ms. Salemi learned that PERA was still paying her less than her male

   counterparts. For example, according to PERA staff salaries published in 2009, Caucasian Male

   #2 (on her team) was earning $140,228 with seven years’ experience, while Ms. Salemi’s base

   salary was $90, 400 with seven-and-a-half-years’ experience.

          32.     A lower base salary means a lower commission rate, making the discrepancy

   between Ms. Salemi’s take-home pay and that of her similarly situated male counterparts

   substantial.

          33.     In addition to paying her less than the similarly situated male analysts on her

   team, PERA began forcing Ms. Salemi to do administrative and operational tasks that were not

   within her job description, while her white male counterparts did more substantive, important

   professional work. Ms. Salemi received less desirable job assignments, whereas the white males



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   receive job assignments that enabled them to develop and advance. By giving her these

   inappropriate and demeaning assignments, PERA was continuing to try to make Ms. Salemi quit

   her job.

          34.     By March 2011, Ms. Salemi had grown even more frustrated with her job duties

   and the continued discrimination she was forced to endure. She met with Mr. Moore to go over

   her 2010 review and 2011 plan. Ms. Salemi requested to be allowed to do her job in accordance

   with her job description, instead of doing demeaning, minuscule tasks that were not given to the

   white males on her team and that did not provide her with the opportunities she needed to

   develop and grow within her position. She also asked about her future with PERA, and Mr.

   Moore responded that, rather than promoting her to Portfolio Manager, he would create a new

   title called “System something.” By all accounts, this would have been a dramatic demotion for

   Ms. Salemi. Accordingly, Ms. Salemi refused to sign off on her 2011 plan.

          35.     Mr. Moore retaliated with accusations that Ms. Salemi is too “quiet in nature” and

   that it was not her “forte” to become a Portfolio Manager. These comments were based, in part,

   on Mr. Moore’s stereotypes of Ms. Salemi’s gender, race, national origin, and culture.

          36.     Ms. Salemi continued to insist that she be allowed to work as an Analyst with

   appropriate Analyst job duties. Mr. Moore responded by assigning her even more minuscule

   administrative duties.

          37.     Mr. Moore’s retaliation grew. He began to ignore Ms. Salemi. Her requests and

   complaints went unanswered. In fact, Mr. Moore would not even greet Ms. Salemi, and he

   turned his back to her in the hallway when he saw her. This adverse treatment and retaliation

   was part of a continuing pattern, as described herein.



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          38.     In April, Mr. Moore met with Ms. Salemi, purportedly regarding her previous

   complaints. However, he said he and Ms. Paquette were unable to come up with a solution to

   her “problems,” and there was “no near future opening on the investment floor” for her.

          39.     Shortly thereafter, the female Senior Administrative Assistant on the AI team

   complained to Mr. Moore than she was made to do personal secretarial work for two male AI

   investment professionals. Mr. Moore sternly retorted, “Do not go there with me.”

          40.     During a weekly group meeting a few days later, Mr. Moore remarked that he

   “wanted to be an asshole for a few minutes,” and he demanded that everyone “mind your

   business.” It was clear to Ms. Salemi that he was referring to her and the other female who

   reported unequal treatment just days before.

          41.     In May 2011, Ms. Salemi met with Defendant Angela Setter, Director of Human

   Resources. Ms. Salemi presented to Ms. Setter her formal written complaint regarding

   discrimination and unequal pay. Ms. Salemi outlined specifically the administrative and

   operational duties she was forced to undertake, which adversely affected her ability to perform

   her Analyst duties. Ms. Setter callously responded that if PERA took away Ms. Salemi’s

   administration and operational responsibilities, Ms. Salemi would be left with a part-time job and

   “PERA does not need a part-time employee.”

          42.     Ms. Salemi also reported to Ms. Setter her recent conversation with Mr. Moore,

   during which he accused Ms. Salemi of being too “quiet in nature.” Ms. Setter refused to even

   acknowledge Ms. Salemi’s complaint; instead, she told Ms. Salemi to “sit on the complaint.”

   She added, “This is a male-dominated area. Take classes.”




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          43.     Ms. Salemi was dedicated to improving herself and rising through the PERA

   ranks, so she expressed her willingness to take a communication class, as well as any

   opportunities for training and new assignments to gain the knowledge and skills she needed to

   move closer to becoming a Portfolio Manager.

          44.     Throughout June 2011, Ms. Salemi reemphasized her concerns numerous times to

   Ms. Setter and Mr. Moore. She reiterated that she wanted the same opportunities that were given

   to the white males on her team, citing the examples that she was not allowed to sit on advisory

   boards or participate in due diligence trips, as her white male counterparts were.

          45.     Ms. Setter warned Ms. Salemi that she should not create an adversarial situation

   at work, and she pressured Ms. Salemi to sign off on her 2011 plan. She also pointed out Ms.

   Salemi’s national origin by derisively asking her what women in Ms. Salemi’s position do in

   Iran, which indicated that Ms. Setter did not think Ms. Salemi was entitled to move up within the

   company due to her gender, national origin, and race.

          46.     Ms. Setter accused Ms. Salemi of putting Mr. Moore “in a corner” due to her

   concerns of discrimination.

          47.     That same month, Mr. Moore took away Ms. Salemi’s only remaining

   professional development opportunity, and, in its place, gave her even more lower-level

   operational responsibilities. Still, rather than address the discrimination, Ms. Setter blamed Ms.

   Salemi for Mr. Moore’s unequal treatment of her, and demanded that she communicate more

   with him.

          48.     When she asked, once again, to be included in more substantive project, Mr.

   Moore told Ms. Salemi, “I do not want to force the guys to work with you.”



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          49.     Due to PERA’s discrimination and retaliation against her, Ms. Salemi was forced

   to take medical leave in July 2011. She received extensive treatment for work-related stress.

          50.     Ms. Salemi filed a Charge of Discrimination on behalf of herself and others

   similarly situated, and on a class-wide basis, with the EEOC on September 29, 2011 alleging

   PERA’s gender discrimination and equal pay violations.

          51.     Ms. Salemi’s EEOC Charge is attached to this Amended Complaint as Exhibit A.

          52.     Ms. Salemi’s EEOC Charge described the gender discrimination that she (the only

   female analyst on her team) and other female PERA employees experienced, as well as the

   retaliation they faced after voicing their concerns of discrimination.

          53.     Specifically, in addition to detailing the pervasive discrimination she endured,

   Ms. Salemi’s EEOC Charge describes the instance where, when confronted by another female

   employee voicing concerns of gender discrimination, Defendant Moore retorted, “Do not go

   there with me.”

          54.     Ms. Salemi’s EEOC Charge also alleges “unequal and unfair training practices

   within [her] department” and Defendant Setter’s excuse that “[t]his is a male dominated area.”

          55.     Ms. Salemi’s filing, and her prosecution of that Charge, of her class-based

   discrimination Charge with the EEOC was intended to, and did, document and oppose illegal

   discrimination occurring within an important Colorado State agency, and raised vitally important

   issues of significant public concern.

          56.     Ms. Salemi returned to work on December 19, 2011.




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          57.     Despite all of her reports and requests for equal treatment, her duties and

   responsibilities worsened upon her return because she had taken FMLA leave for work-related

   stress attributed to PERA’s discrimination and retaliation against her.

          58.     In fact, when the Administrative Assistant was out of the office, Ms. Salemi was

   forced to work on administrative duties for nearly 100% of her time. On top of that, Mr. Moore

   asked her to create a database for a new project — yet another time-consuming administrative

   task. No such administrative tasks were given to the white males on the AI team.

          59.     During her 2011 performance review, Mr. Moore indirectly accused Ms. Salemi

   of lying about her description of job duties: he told her that he did not see any evidence as to why

   the administrative tasks she was forced to do should be taking so much of her time.

          60.     Thereafter, Ms. Salemi sent Mr. Moore a weekly report of all of the

   administrative tasks she had done to justify her time.

          61.     On January 16, 2012, Mr. Moore promoted the white male AI Analyst to Portfolio

   Manager. He had joined the AI team just one year before his promotion (nearly three years after

   Ms. Salemi joined the team), and his experience and background were similar to Ms. Salemi’s.

          62.     On or around that same day, Ms. Salemi received the lowest merit pay increase

   since she began at PERA.

          63.     On May 10, 2012, PERA abruptly terminated Ms. Salemi for alleged

   “unsatisfactory performance.”

          64.     As stated above, salary data from PERA indicates that PERA paid Ms. Salemi’s

   white male counterparts almost 50% more as a base salary than it paid Ms. Salemi.




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          65.      As a result of PERA’s unlawful, discriminatory conduct, Ms. Salemi has suffered

   substantial economic and non-economic damages.

                         VI.     STATEMENT OF CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.
                                Discrimination & Failure to Promote
                                      (Against Defendant PERA)

          66.      Plaintiff hereby incorporates all paragraphs of this Complaint as though fully set

   forth herein.

          67.      As an Iranian woman, Ms. Salemi is a member of multiple protected classes under

   Title VII.

          68.      Defendants treated Ms. Salemi less favorably than her similarly situated white

   male counterparts. Defendants subjected Ms. Salemi to adverse treatment in the terms and

   conditions of her employment because of her gender, race, and/or national origin, including but

   not limited to denial of promotions, discriminatory terms and conditions of employment, and

   termination, as detailed herein.

          69.      At all pertinent times, Ms. Salemi performed the functions of her job competently

   and was more than qualified for promotions.

          70.      Despite her superior qualifications and exemplary job performance, Defendants

   refused to promote Ms. Salemi, in whole or in part, because of her gender, race, and/or national

   origin. Instead, Defendants promoted white males to the positions for which Ms. Salemi was

   qualified.




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           71.     Ms. Salemi’s gender, race, and/or national origin was a motivating factor in

   Defendants’ refusal to promote her. Defendants’ asserted reasons for refusing to promote her

   were mere pretext for illegal discrimination.

           72.     Defendant PERA is liable for the acts and/or omissions of its agents and

   employees. Defendant PERA, either directly or by and through its agents, discriminated against

   Plaintiff on the basis of her gender, race, and/or national origin and directly and proximately

   caused her severe injuries, damages, and losses.

           73.     Defendant PERA’s acts and conduct were committed with malice or with reckless

   indifference to Ms. Salemi’s federally protected rights within the meaning of Title VII.

                                  SECOND CLAIM FOR RELIEF
          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.
                                             Retaliation
                                     (Against Defendant PERA)

           74.     Plaintiff hereby incorporates all of the paragraphs of this Complaint as though

   fully set forth herein.

           75.     Ms. Salemi believed in good faith that Defendants discriminated against her on

   the basis of her gender, race, and/or national origin, as described herein.

           76.     Ms. Salemi opposed Defendants’ discriminatory treatment by reporting it to

   Defendants Moore and Setter and by filing her Charge of Discrimination with the EEOC.

           77.     As a direct result of Ms. Salemi’s opposition to activities prohibited by Title VII,

   Defendants subjected Ms. Salemi to adverse treatment, including but not limited to requiring her

   to work in a hostile work environment which materially and adversely affected the terms and

   conditions of her employment, subjecting her to disparate treatment because of her gender, race




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   and/or national origin, subjecting her to efforts to adversely affect the terms and conditions of her

   employment, terminating her, and other discriminatory practices.

           78.     Defendants’ retaliation against Ms. Salemi arose out of, and was like and related

   to, the discrimination Ms. Salemi opposed while she was employed, both to her management and

   to the EEOC.

           79.     Defendant PERA is liable for the acts and omissions of its agents and employees.

   Defendant PERA, either directly or by and through its agents, retaliated against Ms. Salemi and

   directly and proximately caused her severe injuries, damages, and losses.

           80.     Defendant PERA’s conduct was engaged in with malice or with reckless

   indifference to the federally protected rights of Plaintiff within the meaning of Title VII.

                                 THIRD CLAIM FOR RELIEF
                                         42 U.S.C. § 1983
                  Race & National Origin Discrimination under 42 U.S.C. § 1981
            (Against Defendants Moore and Setter in their official and individual capacities)

           81.     Plaintiff hereby incorporates all allegations contained in this Complaint as though

   fully set forth herein.

           82.     Title 42 U.S.C. § 1983 (“Section 1983”) is the jurisdictional vehicle appropriate

   to obtain relief against a state actor for a violation of Title 42 U.S.C. § 1981 (“Section 1981”).

           83.     Section 1981 provides, in pertinent part:

                   (a) All persons within the jurisdiction of the United States shall have the
                   same right in every State and Territory to make and enforce contracts, to
                   sue, to be parties, give evidence, and to the full and equal benefit of all
                   laws and proceedings for the security of persons and property as is
                   enjoyed by white citizens. . . .

                   (b) For purposes of this section, the term "make and enforce contracts"
                   includes the making, performance, modification, and termination of



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                   contracts, and the enjoyment of all benefits, privileges, terms and
                   conditions of the contractual relationship.

                   (c) The rights protected by this section are protected against . . .
                   impairment under color of State law.

          84.      Ms. Salemi is an Iranian woman and is thus a member of a protected class under

   Section 1981.

          85.      Ms. Salemi is and has at all times been qualified to perform her job

   responsibilities, and she has performed them at all times at least satisfactorily.

          86.      Defendants denied Ms. Salemi the protections against race and national origin

   discrimination provided by Section 1981 in the terms and conditions of her employment by

   denying her the same benefits, privileges, and terms and conditions of her contractual

   employment relationship that her white counterparts enjoyed, and by terminating her.

          87.      Ms. Salemi’s race and national origin was a motivating factor for Defendants’

   actions.

          88.      Defendants Moore and Setter’s discrimination against Ms. Salemi on the basis of

   her race and national origin caused Defendant PERA to terminate Ms. Salemi.

          89.      Defendants Moore and Setter are not entitled to qualified immunity for the

   complained of conduct. Defendants’ conduct violated clearly established rights belonging to Ms.

   Salemi of which a reasonable person in Defendants’ positions knew or should have known, as

   described more fully herein.

          90.      Defendant PERA engaged in national origin discrimination against Ms. Salemi

   pursuant to its custom, policy, or practice to promote and otherwise treat more favorably white

   employees versus non-white employees.



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           91.     Defendants’ conduct was willful, wanton and in reckless disregard of Ms.

   Salemi’s federally protected rights, and was the proximate cause of significant injuries, damages

   and losses that she incurred.

                                 FOURTH CLAIM FOR RELIEF
                                         42 U.S.C. § 1983
                                Retaliation under 42 U.S.C. § 1981
            (Against Defendants Moore and Setter in their official and individual capacities)

           92.     Plaintiff hereby incorporates all allegations contained in this Complaint as though

   fully set forth herein.

           93.     Ms. Salemi engaged in activities and speech in opposition to employment

   practices prohibited by Section 1981 by objecting to and reporting discrimination to Defendants

   Moore and Setter.

           94.     Defendants treated Ms. Salemi more adversely than her similarly situated

   counterparts who did not voice their opposition to Defendants’ discrimination.

           95.     Because of Ms. Salemi’s objections to discrimination, Defendants subjected her to

   adverse treatment, including but not limited to requiring her to work in a hostile work

   environment which materially and adversely affected the terms and conditions of her

   employment, subjecting her to disparate treatment because of her national origin, subjecting her

   to efforts to adversely affect the terms and conditions of her employment, terminating her, and

   other discriminatory practices.

           96.     Defendants Moore and Setter’s retaliation against Ms. Salemi caused Defendant

   PERA to terminate Ms. Salemi. Ms. Salemi’s termination constituted the official policy of

   PERA within the meaning of Section 1983.




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           97.     Defendants Moore and Setter are not entitled to qualified immunity for the

   complained of conduct. Defendants’ conduct violated clearly established rights belonging to Ms.

   Salemi of which a reasonable person in Defendants’ positions knew or should have known, as

   described more fully herein.

           98.     Defendant PERA retaliated against Ms. Salemi pursuant to its custom, policy, or

   practice to adversely treat employees who voice opposition to discrimination and/or harassment.

           99.     Defendants’ conduct was engaged in with malice or with reckless indifference to

   Ms. Salemi’s federally protected rights within the meaning of Sections 1981 and 1983.

           100.    Defendants’ retaliation against Ms. Salemi was the direct and proximate cause of

   severe injuries, damages, and losses.

                                 FIFTH CLAIM FOR RELIEF
                                        42 U.S.C. § 1983
                                 Retaliation – First Amendment
            (Against Defendants Moore and Setter in their official and individual capacities)

           101.    Plaintiff hereby incorporates all allegations contained in this Complaint as though

   fully set forth herein.

           102.    Ms. Salemi filed a Charge of Discrimination with the EEOC, conduct which is

   protected activity under the First Amendment’s right to petition the government.

           103.    The claims raised and prosecuted by Ms. Salemi in her EEOC Charge were not

   solely related to only her own rights, but rather raised issues of significant public concern and

   rights affecting other employees, potential employees, taxpayers, and the general public.

           104.    Ms. Salemi engaged in protected activities of speech and petition under the First

   Amendment that were not expressed pursuant to her official duties.




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           105.    Ms. Salemi’s First Amendment-protected activity involved a matter of public

   concern.

           106.    Ms. Salemi’s interest in commenting on and opposing systemic gender

   discrimination by her employer against herself and others similarly situated, and on a class-wide

   basis, and petitioning the government for a remedy for such discrimination outweighs any

   potential disruptive effect of that speech.

           107.    Defendants responded to Ms. Salemi’s First Amendment-protected activity with

   retaliation, including but not limited to, requiring her to work in a hostile work environment

   which materially and adversely affected the terms and conditions of her employment, subjecting

   her to disparate treatment because of her gender, race, and national origin, subjecting her to

   efforts to adversely affect the terms and conditions of her employment, terminating her, and

   other discriminatory practices.

           108.    Ms. Salemi’s First Amendment-protected activity was a motivating factor in

   Defendants’ retaliation against her.

           109.    Defendants Moore and Setter are not entitled to qualified immunity for the

   complained of conduct. Defendants’ conduct violated clearly established rights belonging to Ms.

   Salemi of which a reasonable person in Defendants’ positions knew or should have known, as

   described more fully herein.

                                    SIXTH CLAIM FOR RELIEF
                             Family Medical Leave Act, 29 U.S.C. § 2615(a)
                                             Retaliation
                                       (Against All Defendants)

           110.    Plaintiff hereby incorporates all allegations contained in this Complaint as though

   fully set forth herein.


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           111.    Ms. Salemi engaged in FMLA-protected activity when she went on approved

   medical leave for work-related stress.

           112.    Upon her return to work from her FMLA-protected leave, Defendants took

   actions that a reasonable employee would have found materially adverse, including but not

   limited to a detrimental decrease in Ms. Salemi’s substantive job duties and responsibilities,

   failure to promote, and termination.

           113.    Defendants’ actions would likely discourage a reasonable worker in Ms. Salemi’s

   position from exercising her rights under the FMLA.

           114.    Defendants Moore and Setter are “employers” within the meaning of the FMLA

   because both were involved in the day-to-day operations of PERA and had direct responsibility

   for the supervision of Ms. Salemi.

           115.    Ms. Salemi suffered injuries, damages, and losses as a direct and proximate result

   of Defendants’ conduct.

                                 SEVENTH CLAIM FOR RELIEF
                             Equal Pay Act of 1963, 29 U.S.C. § 206(d)(1)
                                       Wage Discrimination
                                      (Against All Defendants)

           116.    Plaintiff hereby incorporates all allegations contained in this Complaint as though

   fully set forth herein.

           117.    Prior to Defendants’ retaliation against her, Ms. Salemi was performing a

   common core of tasks associated with her job that was substantially equal to that of her male

   counterparts. She held a job title with a job description and official responsibilities that were

   substantially equal, if not the same, to that of her male counterparts.




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          118.      She performed these responsibilities in the same office and with the same skill

   and efforts as her male counterparts. The conditions where Ms. Salemi and her male

   counterparts performed the work were basically the same.

          119.      Ms. Salemi’s male counterparts were paid more under these circumstances, in

   violation of the federal Equal Pay Act.

          120.      Defendants Moore and Setter are “employers” within the meaning of the Equal

   Pay Act because both were involved in the day-to-day operations of PERA and had direct

   responsibility for the supervision of Ms. Salemi.

          121.      Defendants’ violation of the Equal Pay Act was willful.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

   and against Defendants, and award her all relief as allowed by law, including, but not limited to

   the following:

              a. Declaratory relief and injunctive relief, possibly including reinstatement, as

                    appropriate;

              b. Actual economic damages as established at trial against the individual defendants

                    and as permissible under the Eleventh Amendment;

              c. Compensatory damages, including, but not limited to those for future pecuniary

                    and non-pecuniary losses, emotional pain, suffering, inconvenience, mental

                    anguish, loss of enjoyment of life, and other non-pecuniary losses;

              d. Punitive damages against the individual defendants for all claims as allowed by

                    law in an amount to be determined at trial;

              e. Pre-judgment and post-judgment interest at the highest lawful rate;



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            f. Attorney’s fees and costs; and

            g. Such further relief as justice requires.

          PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

         Dated this 22nd day of January 2014.

                                                KILLMER, LANE & NEWMAN, LLP

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